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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT


LIORA REZNICHENKO                                CIVIL CASE NO:
   Plaintiffs                                    3:17-cv-00963-JBA

v.

EMINA BEHREMOVIC,
BEHAN MANAGEMENT, LLC and
QS MANAGEMENT, LLC,
  Defendants                                     JULY 31, 2017



                                NOTICE OF DISMISSAL



       Pursuant to Fed. R. Civ. P. Rule 41(a)(1)(A)(i), the plaintiff, Liora Reznichenko,

through her attorney, hereby gives notice that the plaintiff’s claims shall be dismissed

with prejudice, and without costs or attorney’s fees.




                                   PLAINTIFF, LIORA REZNICHENKO


                                   By: /s/ Daniel S. Blinn
                                           Daniel S. Blinn (ct02188)
                                           Consumer Law Group, LLC
                                           35 Cold Spring Rd. Suite 512
                                           Rocky Hill, CT 06067
                                           Tel. (860) 571-0408
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                                     CERTIFICATION

       I hereby certify that on this 31st day of July, 2017, a copy of the foregoing Notice
of Dismissal was filed electronically and served by mail on anyone unable to accept
electronic filing. Notice of this filing will be sent by e-mail to all parties by operation of
the Court’s electronic filing system or by mail to anyone unable to accept electronic filing
as indicated on the Notice of Electronic Filing. Parties may access this filing through the
Court’s CM/ECF System.

                                            /s/ Daniel S. Blinn
                                           Daniel S. Blinn




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